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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA


HENNA CARDENAS, Individually and              )
on behalf of all others similarly situated,   )   Case No.: 9:20-cv-376-RMG
                                              )
                             Plaintiff,       )       JOINT RULE 26(f) REPORT AND
                                              )            DISCOVERY PLAN
vs.                                           )
                                              )
RESORT SALES BY SPINNAKER,                    )
INC. and RESORT SALES MISSOURI,               )
INC.                                          )
                                              )
                            Defendants.       )
                                              )
                                              )


        Counsel for Plaintiff Henna Cardenas (“Plaintiff”) and Defendants Resort Sales by

Spinnaker, Inc. (“RSS”) and Resort Sales Missouri, Inc. (“RSM”) (collectively, the “Parties”)

participated in a telephonic Rule 26(f) meeting on August 12, 2020, and hereby submit the

following joint discovery plan pursuant to Federal Rule of Civil Procedure 26(f)(3):

                                      DISCOVERY PLAN

(A)     What changes should be made in the timing, form, or requirement for disclosures
        under Rule 26(a), including a statement as to when disclosures under Rule 26(a)(1)
        were made or will be made.

        The Parties do not request any changes be made to the form of or requirement for Rule

26(a) disclosures. The Parties agree to exchange Rule 26(a)(1) initial disclosures by September

16, 2020.

(B)     The subjects on which discovery may be needed, when discovery should be completed,
        and whether discovery should be conducted in phases or be limited or focused on
        particular issues.

        The Parties disagree as to whether or not discovery should be conducted in phases.
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       Plaintiff’s Discovery Plan

       Plaintiff objects to Defendants’ proposal to bifurcate discovery into three distinct phases:

FIRST, discovery into the merits of Plaintiff’s claim, SECOND, discovery related to whether a

class can be certified, and THIRD merits-based discovery for the certified class. The key questions

regarding the claims ask: 1 (1) who made the calls, (2) how did they get consent to make the calls,

(3) were the calls on behalf of Defendants, and (4) how many calls were placed. Plaintiff also

needs to know how many calls were placed to consumers on the DNC List and information

regarding Defendants’ do not call policies, such as Defendants’ maintenance of any internal do not

call lists and any training of their personnel. There is simply no basis for separating discovery into

separate phases.

       This is particularly true in the instant case since the discovery related to Plaintiff and the

Class are likely to overlap. Whether Defendant had a do not call policy that is available on demand,

whether it trained its personnel in that policy, whether it recorded do not call requests and honored

them for five years; whether Defendants obtained consent; whether the calls were on behalf of

Defendant to sell their timeshares—all of these are common issues for Plaintiff and the proposed

Class and both will require substantially the same discovery. There is no reason to force Plaintiff

to win her individual case simply to be entitled to learn how many other persons are similarly

situated and the number of phone calls placed to them (the two key determinants of Defendants’

liability). Likewise, there is no basis for making Plaintiff wait to learn the purpose of the calls to

her and others.




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  Plaintiff’s LR 26.03 statement references ATDS claims. There are no ATDS claims at issue in
this case.

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        Ultimately Defendants appear interested in erecting barriers to the effective prosecution of

this case through protracted motion-practice (the Court already denied Defendants’ Motions to

Dismiss) and now three separate discovery hurdles. The Court should reject Defendants’ proposal

and instead enter the following deadlines:

        Deadline to Amend Pleadings:            Wed. December 2, 2020 or within 30 days of
                                                Plaintiff uncovering the specific entities that made
                                                the calls at issue;

        Deadline to complete discovery:         Wed. June 16, 2021 – this will encompass both
                                                class and merits discovery;

        Expert Disclosures:                     Expert reports due June 30, 2021. Rebuttal reports
                                                due July 28, 2021;

        Expert Deposition Deadline:             August 30, 2021;

        Certification Briefing:                 Motion by Plaintiff due no later than September 29,
                                                2021. Opposition by Defendants’ due October 27,
                                                2021. Replies due November 17, 2021;

        Subsequent CMC:                         To be set by Court following a ruling on class
                                                certification. At this CMC, the Court will set
                                                deadlines for completion of ADR, dispositive
                                                motions, the pre-trial conference, and trial/jury
                                                selection date.

        Defendants’ Discovery Plan

        Defendants contend that conducting discovery in phases is the most proper and efficient

use of the Court’s time and resources. Bifurcation is appropriate because Defendants have

defenses to Plaintiff’s individual claims that will dispose of this action prior to class certification.

Specifically, Defendants did not make any of the alleged telemarketing calls to Plaintiff, she has

not identified the alleged caller, Defendants are unable to identify the alleged caller from the

allegations in Plaintiff’s Complaint, and Defendants did not authorize or knowingly allow any

telemarketing vendor to make any telemarketing calls in violation of the TCPA. If Plaintiff cannot



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establish either direct or vicarious liability with regard to her individual TCPA claims, her claims

fail and she cannot act as a class representative for any putative class.

       In a putative class action, bifurcation of discovery may be proper if the limiting of

discovery prior to class certification will “help to determine whether the certification is proper

based upon the claims of the named representative.” Stavroff v. Midland Credit Mgmt., 2005 WL

6329149 (N.D. Ind. June 8, 2005); see also Fed. R. Civ. P. 23(c)(1); Fed. R. Civ. P. 23 advisory

comm. note (2003) (explaining that “[t]he party opposing the class may prefer to win dismissal or

summary judgment as to the individual plaintiffs without certification and without binding the

class that might have been certified”).

       Bifurcating at this stage will promote judicial economy without prejudicing Plaintiff.

Defendants propose that Phase 1 of discovery be limited to issues concerning Plaintiff’s individual

claims. Phase 2 (if Defendants do not prevail on an early summary judgment motion) would then

consist of the class certification discovery in anticipation of a motion for class certification. Phase

3 (if Plaintiff prevails on a motion for class certification) would then consist of merits discovery

for the certified class(es), as may be warranted.

       This Court has the implicit authority to bifurcate discovery to minimize and defer “costly

and possibly unnecessary discovery proceedings pending resolution of potentially dispositive

preliminary issues.” Ellingson Timber Co. v. Great N. Ry. Co., 424 F.2d 497, 499 (4th Cir. 1970).

Rule 42(b) grants courts broad discretion to bifurcate issues in a case for reasons of “convenience,

to avoid prejudice, or to expedite and economize.” Fed. R. Civ. P. 42(b); accord Shetterly v.

Raymark Indus., Inc., 117 F.3d 776, 782 (4th Cir. 1997). In exercising its discretion, the court

must determine “which procedure is more likely to result in a just and expeditious final disposition

of the litigation.” 9A Charles Allen Wright & Arthur R. Miller, Federal Practice & Procedure §



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2388 (3d ed. 2010). Within the Fourth Circuit, district courts have customarily exercised their

discretion to order bifurcation of discovery for the sake of efficiency and to prevent prejudice to a

defendant. See Ziemkiewicz v. R+L Carriers, Inc., 2013 WL 2299722 (D. Md. May 23, 2013)

(collecting cases). In a recent TCPA action in this district, Judge Cain found that discovery in

multiple phases was appropriate and ordered discovery to be bifurcated. See E & G, Inc. v. Mount

Vernon Mills, Inc., Civil Action No. 6:17-cv-00318-TMC, Docket No. 38 (D.S.C. June 1, 2017).

       If Defendants prevail on a motion for summary judgment by demonstrating that Plaintiff

has no viable individual claim, then Plaintiff’s claims relating to a putative class will also

necessarily fail. See Ardrey v. United Parcel Serv., 798 F.2d 679, 680-81 (4th Cir. 1986)

(affirming bifurcation of discovery where district court “agreed with counsel . . . that plaintiffs

would be required to ‘establish viable individual actions’ before class discovery would be

allowed”); Stavroff, 2005 WL 6329149 (bifurcating discovery between individual merits and class

discovery in the interest of judicial economy). Time spent pursuing class discovery prior to a

determination of this threshold issue will be an expensive waste of resources. Limiting discovery

to Plaintiff’s individual claims prior to a ruling on a motion for summary judgment and then, if

necessary, engaging in class-wide discovery, is the most efficient way to resolve this action.

       Defendants will provide further argument in a formal Motion to Bifurcate Discovery if the

Court so requests. The schedule Defendants believe is most appropriate is below.

       Phase 1 of Discovery:

       a.      Defendants propose conducting discovery on the following topics in Phase 1:

               1. Whether RSS or RSM made the telephone calls to Plaintiff alleged in the

                   Complaint;




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      2. If not RSS or RSM, the identity of the entity that allegedly called Plaintiff from

         the telephone numbers alleged in the Complaint;

      3. If the caller is identified, the relationship of the caller to RSS or RSM, including

         any agreements between the caller and RSS or RSM;

      4. The relationship of Plaintiff and RSS or RSM, and whether an existing business

         relationship existed between Plaintiff and RSS or RSM;

      5. Whether Plaintiff gave her consent to be called; and

      6. Any other facts relevant to the issue of whether either RSS or RSM can be held

         directly or vicariously liable for any alleged telephone calls made to Plaintiff as

         alleged in the Complaint.

 b.   All discovery under Phase 1, including written discovery and depositions, will be

      completed by January 15, 2021. No class discovery or other merits-based discovery

      should take place until it is determined whether Plaintiff’s individual claims have

      merit.

 c.   Defendants anticipate Phase 1 of discovery will require at most (5) depositions of

      fact witnesses, and third-party discovery.

 d.   Defendants propose the following schedule for their Motion for Summary

      Judgment based on Plaintiff’s individual claims:

      1. Motion for Summary Judgment: February 19, 2021

      2. Opposition to Motion: March 5, 2021

      3. Reply in Support of Motion: March 12, 2021

      4. Hearing on Motion for Summary Judgment: April 12, 2021 or at a date

         convenient for the Court.



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        Upon the Court’s determination on a Motion for Summary Judgment, the Parties would

agree to establish a schedule for further discovery, including for expert disclosures and depositions,

as necessary in light of the status of the case at the time.

        Phase 2 of Discovery

        If the Court does not grant Defendants’ Motion for Summary Judgment, the Parties should

be required to provide within fifteen (15) days of the Court’s decision on the Motion a new Joint

Scheduling Report outlining the Parties’ plan for moving forward with the remainder of discovery

and the litigation.

(C)     Any issues about disclosure or discovery of electronically stored information,
        including the form or forms in which it should be produced.

        The Parties agree to discuss issues related to ESI in connection with and prior to the

production of documents. The Parties anticipate negotiating an agreement and protocol related to

discovery of ESI.

(D)     Any issues about claims of privilege or of protection as trial preparation materials,
        including—if the parties agree on a procedure to assert these claims after
        production—whether to ask the court to include their agreement in an order under
        Federal Rule of Evidence 502.

        The Parties intend to negotiate a proposed protective Order which embodies confidentiality

protections for documents to be produced by the Parties during discovery as well as protections

for materials which are privileged and/or covered by the work-product doctrine. The Parties

anticipate submitting their proposed protective Order to the Court for approval.

(E)     What changes should be made in the limitations on discovery imposed under these
        rules or by local rule, and what other limitations should be imposed.

        None at this time.

(F)     Any other orders that the court should issue under Rule 26(c) or Rule 16(b) – (c).




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         Plaintiff’s position: The Court should Order Defendants to disclose with their initial

disclosures all information in their possession or control related to the calls, including the identities

of any entities who made the calls, and any agents or vendors who may have made the calls.

         Defendants’ position: Defendants do not request the issuance of any additional orders at

this time. In response to Plaintiff’s position, there is no basis or need for Plaintiff’s requested order

that Defendants supplement their Initial Disclosures outside of the requirements of Rule 26(a)(1).

Moreover, Defendants object to Plaintiff’s discovery request for “all information” “related to the

calls” on numerous grounds. The Federal Rules of Civil Procedure and the Local Rules of Civil

Procedure provide Plaintiff with the appropriate tools for conducting discovery in due course, and

the issuance of additional orders related to discovery would be inappropriate at this stage of the

case.

                                       Respectfully submitted,

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